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 1
                                  IN THE UNITED STATES DISTRICT COURT
 2                                      FOR THE DISTRICT NEVADA
 3   CUNG LE, NATHAN QUARRY, JON FITCH,
     BRANDON VERA, LUIS JAVIER                            Case No. 2:15-cv-01045-RFB-BNW
 4
     VAZQUEZ, and KYLE KINGSBURY, On
 5   Behalf of Themselves and All Others Similarly
     Situated,
 6
                    Plaintiffs,
 7

 8          v.

 9   ZUFFA, LLC, D/B/A ULTIMATE FIGHTING
     CHAMPIONSHIP and UFC,
10
                    Defendant.
11
     KAJAN JOHNSON and CLARENCE
12
     DOLLAWAY, On Behalf of Themselves and All Case No. 2:21-cv-01189-RFB-BNW
13   Others Similarly Situated,

14                  Plaintiffs,
15          vs.
16
     ZUFFA, LLC, TKO OPERATING COMPANY,
17   LLC F/K/A ZUFFA PARENT LLC (D/B/A
     ULTIMATE FIGHTING CHAMPIONSHIP and
18   UFC), and ENDEAVOR GROUP HOLDINGS,
     INC.,
19

20
                    Defendants.
21

22

23                        SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION
24                      FOR PRELIMINARY APPROVAL OF THE SETTLEMENT

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                  SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL OF THE SETTLEMENT
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 1   I.      INTRODUCTION AND SUMMARY

 2           Plaintiffs in two class actions, Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship
 3   and UFC, No. 2:15-cv-01045 (D. Nev.) (the “Le Action”), and Johnson, et al. v. Zuffa, LLC, et al., No.
 4   2:21-cv-1189 (D. Nev.) (the “Johnson Action”) (collectively, the “Actions”), on behalf of themselves
 5   and the proposed Settlement Classes (the Le Class and the Johnson Settlement Class), 1 submit this
 6   supplemental memorandum in support of their motion for preliminary approval of the Settlement. This
 7   Supplemental Memorandum directly responds to concerns raised by the Court, and requests from the
 8   Court, at the June 14, 2024 status conference. Plaintiffs provide the following supplemental
 9   information in support of the Settlement:
10           (1) a Revised Plan of Allocation (attached as Exh. A hereto and summarized below). The
11   Revised Plan of Allocation (“Revised Plan”) would distribute 90% of the $335 million monetary
12   recovery to the Le Class and 10% to the Johnson Settlement Class. Under the Revised Plan, the
13   Settlement would result in the Le Class (and the 485 individuals who are members of both the Le Class
14   and the Johnson Settlement Class) recovering over $300 million (90% x $335M = $301.5M). The
15   Revised Plan ensures that the Le Class members would recover through the Settlement over 30% of the
16   total amount of single damages available to them at trial. As confirmed by the long-list of class action
17   cases cited below, this result would be far superior to many other antitrust class action settlements—
18   including those that both settled on the brink of or during trial and involved less pathbreaking factual
19   and legal underpinnings than these Actions. 2
20           (2) Supplemental Data Reflecting that Many Settlement Class Members Would Receive
21   “Life Changing” Money from the Settlement. Simultaneously with this submission, Plaintiffs are
22   providing specific information from Plaintiffs’ expert economist (in camera due to the sensitivity of the
23
     1
24     Unless noted otherwise, all capitalized terms use the same definitions as those set forth in Plaintiffs’
     May 21, 2024 submission in support of preliminary approval of the Settlement. See ECF Nos. 136
25   through 136-9.
     2
26    Plaintiffs are also submitting a revised proposed preliminary approval order, which reflects that if the
     Court is amenable, it would approve the Revised Plan of Allocation, and that the forms of notice to the
27   Settlement Classes would be amended to reflect the changes to the Plan of Allocation set forth in the
     Revised Plan.
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 1   information), setting forth data requested by the Court relating to, inter alia, the projected net

 2   recoveries for each member of the Settlement Classes (including the 485 Fighters who are in both the

 3   Le Class and Johnson Settlement Class) based on the Revised Plan. Plaintiffs also provide in camera a

 4   second spreadsheet identifying, for each Fighter in one or both Settlement Classes, the number of UFC

 5   bouts, the date of each bout, and the compensation earned from each bout. 3 (The Fighters who are in
 6   both Settlement Classes are highlighted in blue in both spreadsheets).

 7          This information makes clear that the Settlement would, in the words of the Court, provide “life

 8   changing” money to Fighters who have waited through ten years of litigation to receive some measure

 9   of compensation for the alleged wrongs addressed by these Actions. As detailed below, of the

10   approximately 1,500 Fighters who are members of the Settlement Classes (and who did not sign

11   contracts with an arbitration clause), nearly one-third (494 Fighters) will receive a total net

12   allocation of more than $100,000 each. Every single Fighter in Le will receive at least $13,000—a

13   significant sum for many people struggling to get by. The average award for Le Class members will

14   approach $200,000 and the median award will exceed $73,000. By any measure, this is a significant

15   amount of money that will be meaningful to well more than one thousand Fighters and their families.

16   This money would be sorely missed if the Settlement were not approved and Plaintiffs either lost at

17   trial, or simply incurred many more years of delay through trial, post-trial motions, and appeals after

18   which the result would be uncertain.

19          (3) Multiple Cases Demonstrating That the Settlement Compares Favorably with Other

20   Antitrust Class Action Resolutions, Including Those Resolved at or Just Prior to Trial. Plaintiffs

21   set forth below a lengthy list of judicial opinions addressing the following topics: (a) antitrust class

22   action settlements involving far lower shares of available single damages than Plaintiffs achieved here,

23   including those that were settled during trial and that involved less “pathbreaking,” and more standard,

24   antitrust claims than at issue here; (b) addressing the standards for approval of class action settlements

25

26   3
       To be clear, only the Court is receiving hard copies of the two spreadsheets in camera due to the
     sensitive information contained in the spreadsheets. Plaintiffs are not submitting the two documents to
27
     the ECF clerk or any party in any format (hard copy or electronic), nor are Plaintiffs filing the
28   spreadsheets via the electronic ECF docketing system (i.e., the spreadsheets are not being filed on the
     docket under seal).

                                                                                                                2
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 1   and, in particular, the importance of the judgment of experienced class counsel; and (c) the complexity

 2   and risks associated with litigating, trying antitrust class actions to judgment, and appeals of such

 3   judgments.

 4   II.    THE REVISED PLAN OF ALLOCATION

 5          As reflected in the attached Revised Plan (Exh. A) in response to concerns raised by the Court
 6   at the June 14, 2024 status conference, Plaintiffs are amending the previously submitted Plan of
 7   Allocation in three material ways: (1) changing the allocation as between the Le Class Tranche and
 8   Johnson Class Tranche so that the split is more heavily weighted in favor of Le (instead of 75%/25% in
 9   Le/Johnson, the split will be 90%/10% Le/Johnson); (2) within each Class Tranche the allocation is
10   adjusted so that the number of bouts per claimant is weighted 30% (instead of 20%) and the total
11   compensation per claimant is weighted 70% (instead of 80%); and (3) the minimum recovery for Le
12   Claimants (defined below) will now be $10,000 (instead of $8,000), 4 the minimum recovery for
13   Johnson Claimants (defined below) without arbitration clauses will be $6,000 (instead of $7,000), and
14   the flat recovery for Johnson Claimants with arbitration clauses will be $3,000 (instead of $5,000).
15          The proposed revised allocation between the Le Class and the Johnson Settlement Class—with
16   Le getting 90% of the proceeds—is justified on, at least, four grounds. First, the Le Action is much
17   older and covers an earlier class period. Accordingly, on a “time value of money basis,” the Le Class
18   members who have been subject to more delay in compensation for the alleged misconduct are entitled
19   to a significantly higher recovery, all things equal, relative to members of the Johnson Settlement
20   Class. Second, the Le Action was certified pursuant to Fed. R. Civ. P. 23(b)(3) and was fully litigated
21   up to the eve of trial, while the Johnson Action was in the early stage of discovery (a motion to dismiss
22   the operative Amended Complaint had not yet been filed) at the time of Settlement. Thus, plaintiffs and
23   the certified Class in the Le Action had more leverage in settlement negotiations than the plaintiffs in
24   the Johnson Action. Third, the UFC appears to have made certain potentially helpful changes to its
25   Fighter contracts after the Le Action, which benefitted the Johnson Settlement Class members, and
26   some members of the Le Class who, for instance, had not been able to retire officially. Fourth, more
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     4
28     Under the formula for allocation, as it turns out the lowest amount any member of the Le Class will
     receive exceeds $13,000.

                                                                                                                3
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 1   than half of the Johnson Settlement Class members—accounting for over 75% of all bout

 2   compensation the UFC paid to UFC Fighters during the Johnson Class Period—are subject to

 3   arbitration clauses and provisions that waive participation in class actions. If these clauses were upheld,

 4   they would significantly reduce the overall value of the claims brought by the Johnson Settlement

 5   Class.

 6            The proposed allocation of 10% of the Settlement amount to Johnson (a material amount to be

 7   sure) recognizes that the Le Class benefitted from the presence of Johnson. As an initial matter, the

 8   presence of Johnson provided both additional leverage to the Plaintiffs to close the deal, but also

 9   allowed Plaintiffs to offer the Defendants finality and global peace through the date of the Settlement.

10   Moreover, and importantly, there are 485 Fighters who are members of both the Le Class and

11   Johnson Settlement Class. Thus, a significant portion of the monies allocated to the Johnson

12   Settlement Class will offer an additional benefit to the many Le Class members who continued to fight

13   under the UFC banner after the Le Class Period ended in June 2017.

14            Finally, while it is certainly true that the members of the Johnson Settlement Class will benefit

15   more directly from the prospective relief that is part of the Settlement, the Le Class Representatives—to

16   a man—and many Le Class members, believe strongly that one of the goals of the Actions was to

17   improve the sport for current and future MMA Fighters. To the extent that the Settlement provides

18   benefits to more current fighters in Johnson—and the prospective relief certainly does—that outcome

19   itself results in an intangible benefit, but an important benefit nonetheless, to the members of the Le

20   Class.

21   III.     THE SETTLEMENT WOULD PROVIDE “LIFE CHANGING” MONEY TO MANY
              HUNDREDS OF FIGHTERS AND THEIR FAMILIES
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              Plaintiffs have provided the Court (in camera due to the sensitivity of the information) two
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     spreadsheets prepared by our experts that provide granular information regarding the impact of the
24
     Settlement on the lives of the members of the Settlement Classes. The first spreadsheet, titled Le v.
25
     Zuffa/Johnson v. Zuffa: Fighter Allocation Spreadsheet, sets forth the projected net recoveries for (a)
26
     each member of the Le Class, (b) each member the Johnson Settlement Class, and (c) for those 485
27
     Fighters in both Settlement Classes, the combined net recoveries from both Settlement Tranches.
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 1   Plaintiffs also provide in camera a second spreadsheet titled Le v. Zuffa/Johnson v. Zuffa: Fighter Event

 2   List Spreadsheet, identifying for each Fighter in one or both Settlement Classes, the number of UFC

 3   bouts fought, the dates of each bout, and the compensation each earned from each bout. The 485

 4   Fighters in both Settlement Classes are highlighted in blue in both spreadsheets. Taken together, this

 5   information makes clear that the Settlement would, in the words of the Court, provide “life changing”

 6   amounts of money to hundreds of Fighters who have waited through ten years of litigation, and as long

 7   as fourteen years from the earliest fights in the Le Class Period, to receive some measure of

 8   compensation for the alleged wrongs addressed by these Actions.

 9           The Le Class: Assuming the Court grants the Fee and Expense Award akin to that set forth in

10   the Class Notice, the Settlement under the Revised Plan would result in a total net recovery for the Le

11   Class of approximately $193.5M, 5 which would represent approximately 35 percent of total Event

12   Compensation that Zuffa paid to Le Class Members over the Le Class Period (i.e., the Settlement would

13   act as a 35% raise above what Fighters were paid during their careers).

14           Under the methodology reflected in the Revised Plan, and conservatively assuming a 90 percent

15   claims rate, the average net recovery from the Le Class Tranche for Le Claimants would be $198,000

16   and the typical (median) recovery would exceed $73,000 per Fighter. Moreover, 485 of these Le Class

17   members (who are members of both Settlement Classes) would also recover from the Johnson Class

18   Tranche, increasing each Le Class member’s award by at least $6,000 (without an arbitration clause)

19   and potentially significantly more (the average Johnson Settlement Class member recovery would be

20   over $25,000).
21           The Johnson Settlement Class: Under the Revised Plan, making the same assumptions as for
22   the Le Class (regarding Court awarded fees and costs), would result in a total net recovery for the
23   Johnson Settlement Class of approximately $21.5M. 6 The Johnson Settlement Class Tranche, under
24

25   5
      The Settlement involves total payments of $335M. The Net Settlement Fund after all potential
26   deductions (of potential Court-awarded fees and costs, as well as costs of administration) is
     approximately $215M. $215 * 90% (share to Le Class Tranche under the Revised Plan of Allocation) =
27   $193.5M.
     6
28    The Settlement is for $335M. The Net Settlement Fund after all deductions is $215M. $215 * 10% =
     $21.5M.

                                                                                                              5
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 1   these assumptions, would represent almost 15 percent of total Event Compensation Zuffa paid to

 2   Johnson Settlement Class Members who were not subject to arbitration clauses or class action waivers

 3   over the Johnson Settlement Class Period. The average recovery by a Johnson Settlement Class

 4   member from the Johnson Settlement Class Tranche would be over $25,000 and the typical (median)

 5   recovery would be over $13,000 per Fighter. For the many Johnson Settlement Class members who

 6   would also recover in Le, the combined amount would be even more significant. 7
 7           Net Recoveries For Settlement Class Members Are Significant: There is significant overlap

 8   between the two Settlement Classes. Of the 1,500 Fighters that are members of one or both Settlement

 9   Classes (and who did not sign an arbitration clause), nearly one-third (494 Fighters) will receive a

10   total net allocation from both Settlement Classes of more than $100,000 each; more than 15% (226

11   Fighters) will receive in excess of $200,000 each; nearly 10% (143 Fighters) will receive in excess of

12   $300,000 each; more than 6% (104 Fighters) will receive in excess of $400,000 each; more than 5%

13   (86) will receive in excess of $500,000 each; more than 4% (67 Fighters) will receive in excess of

14   $600,000 each; more than 3.5% (54 Fighters) will receive in excess of $700,000 each; more than 3%

15   (46 Fighters) will receive in excess of $800,000 each; more than 2.5% (41 Fighters) will receive in

16   excess of $900,000 each; and 36 Fighters will receive in excess of $1 million each. And, under the

17   Revised Plan, every single Fighter in Le will receive at least $13,000—including those Fighters who

18   only fought once. These amounts are significant sums for most people, including many who may well

19   be living from paycheck to paycheck. 8
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23     For instance, there are Fighters who would receive $39,000 from Le and $115,000 combined; $52,000
     from Le and $126,000 combined; $49,000 from Le and $142,000 combined; $75,000 from Le and
24   $129,000 combined. See Le v. Zuffa/Johnson v. Zuffa: Fighter Allocation Spreadsheet (in camera
     submission).
25
     8
       In 2022, median annual income in the United States was less than $75,000. See
26   www.bls.gov/news.release/pdf/wkyeng.pdf (“Median weekly earnings of the nation’s 119.2 million
     full-time wage and salary workers were $1,139 in the first quarter of 2024 (not seasonally adjusted), the
27
     U.S. Bureau of Labor Statistics reported today.”). According to a survey by bankrate.com, only 44% of
28   U.S. adults would be able to pay an emergency expense of $1,000 or more from their savings, as of
     December 2023 polling. See https://www.bankrate.com/banking/savings/emergency-savings-report/.

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 1           By any measure, these distributions would be meaningful to many hundreds of Fighters and

 2   their families—and would be sorely missed if the Settlement were not approved and Plaintiffs either

 3   lost at trial, or simply incurred many more years of delay through trial, post-trial motions, and appeals.

 4   IV.     THE SETTLEMENT IS SUPERIOR BY ALL TRADITIONAL METRICS

 5           By all traditional metrics, the Settlement is an excellent result for the Settlement Classes—
 6   especially in comparison to other prominent antitrust class action settlements in recent years. As
 7
     discussed above, the Settlement, if approved, would result in a gross recovery to the Le Class (and
 8
     those members of the Johnson Settlement Class who also recover in Le) of over $300 million (90% x
 9
     $335M = $301.5M). Plaintiffs’ experts had several damages models with a median result of $981.8
10

11   million. 9 Accordingly, the Settlement would allow the Le Class to recover over 30% of the amount of

12   their single damages.

13           A.      The Settlement Compares Favorably to Other Antitrust Class Actions Where
                     Settlements Occurred on the Brink of, or During, Trial
14

15           The Settlement compares favorably to other class action cases resolved after courts had certified

16   the classes, found the plaintiffs’ economic experts (and their respective damages models) reliable, and

17   denied summary judgment.

18           First, earlier this year plaintiffs in five separate class actions in different jurisdictions settled the

19   Realtor Commissions case with five defendants for approximately $972.5M on behalf of multiple

20   classes. See Burnett, et al. v. NAR, et al., No. 19-cv-332, ECF No. 1478, at 6 (E.D. Mo. May 6, 2024).

21   One of the classes that folded into this settlement had previously gone to trial and prevailed, obtaining

22   a jury verdict for nearly $1.8 billion before trebling. See Burnett, et al. v. NAR, et al., No. 19-cv-332,

23   ECF No. 1294 (E.D. Mo. Oct. 31, 2023) (verdict form). The combined alleged damages in these actions

24   were immense—in addition to the $1.8 billion jury verdict, another one of the several classes that

25   folded into this collective sub-$1 billion settlement had by itself claimed over $13 billion in single

26

27   9
      Dr. Singer’s Strikeforce Model: $1.4 billion (SR1 ¶248 & tbl.9); Dr. Singer’s Bellator Model: $811.2
28   million; Dr. Singer’s regression model results, included $894.3 million (SR1 ¶250 & tbl.10) and $1.6
     billion (SR1 ¶252 & tbl.11); Prof. Zimbalist’s model: $981.8 million (ZR1 ¶126).

                                                                                                                    7
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 1   damages. See Moehrl, et al. v. NAR, et al., No. 19-cv-1610, ECF No. 324-5, at 5 (N.D. Ill. June 7,

 2   2022). Thus, even with a large and favorable jury verdict, and combined single damages in the tens of

 3   billions of dollars, the total settlement amount was less than $1 billion, i.e., likely below 5% of the total

 4   available single damages. This result reflects counsel’s assessment of the very real risks of antitrust

 5   trials and appeals from even the most favorable of verdicts.

 6            Second, in Meijer, Inc. v. Abbott Labs., 2011 WL 13392313, at *2 (N.D. Cal. Aug. 11, 2011),

 7   the plaintiff class in an antitrust class action settled on the third day of trial for $52 million. In Meijer,

 8   the class had been certified, summary judgment had been denied, and the plaintiffs were trying an

 9   antitrust monopolization claim relating to an AIDS drug. Plaintiffs’ expert economist, Dr. Hal Singer,

10   had computed damages ranging from $210 million up to $1.2 billion, and as here the court found his

11   models reliable and admissible. In other words, this case settled at trial for between 4% and 25% of

12   available single damages. And it was undoubtedly a good thing for the plaintiffs that they settled. A

13   non-class co-plaintiff did not settle, continued with the same trial in front of the same jury that would

14   have decided the class’s fate—and received a defense verdict because the jury disagreed with the

15   plaintiffs’ proposed relevant market. 10

16            Third, in another cautionary tale, the plaintiffs in In re Opana ER Antitrust Litig., No. 14-cv-

17   10150, ECF No. 1085 (N.D. Ill. Nov. 3, 2022), settled an antitrust class action with one of two

18   defendants on the first day of trial for $145 million. That amount represented about one-quarter of

19   single damages of between $514 million to $590 million. See ECF No. 1081, at 1 (plaintiffs’ final

20   approval brief); ECF No. 895, at 18 (N.D. Ill. May 24, 2022) (joint pretrial order discussing damages).
21   At the time of settlement, the court had granted class certification, denied summary judgment, and
22   denied Daubert. However, the plaintiffs were unable to settle with the second defendant and so
23   continued to a jury verdict—and lost. ECF No. 1002 (N.D. Ill. July 1, 2022) (jury verdict for non-
24   settling defendant). With only a single defendant in Le, Plaintiffs here do not have the luxury of a
25

26   10
       See also Meijer, Inc. v. Abbott Labs., No. 07-cv-5985, ECF No. 512, at 8 (N.D. Cal. July 13, 2011)
27   (plaintiffs’ final approval brief providing damages estimates), ECF No. 501, at 6-7 (N.D. Cal. Apr. 8,
     2011) (plaintiffs’ preliminary approval brief providing litigation background).
28

                                                                                                                      8
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 1   partial settlement to guarantee some recovery for class members in the event of a loss at trial or on

 2   appeal.

 3             Fourth, In re Titanium Dioxide Antitrust Litig., 2013 WL 5182093, at *2 (D. Md. Sept. 12,

 4   2013), was a price-fixing case brought under Section 1 of the Sherman Act. The plaintiffs there entered

 5   into a class settlement totaling $163.5 million after class certification had been granted, summary

 6   judgment and Daubert denied, and on the eve of trial. The resolution represented a mere 6-8% of

 7   estimated single damages, which had ranged from $2.1-2.7 billion. Id.; see also In re Titanium Dioxide

 8   Antitrust Litig., 959 F. Supp. 2d 799, 818 (D. Md. 2013) (plaintiffs’ expert found “Defendants’ price

 9   increases resulted in aggregate [single] overcharges of between $2.1 and $2.7 billion”).

10             Fifth, in Natchitoches Par. Hosp. Serv. Dist. v. Tyco Int’l, Ltd., 2010 WL 11693979, at *2 (D.

11   Mass. Mar. 12, 2010), the plaintiffs settled an antitrust class action for $32.5 million after class

12   certification had been granted, summary judgment and Daubert denied, and during trial. The settlement

13   represented 17.6% of the $184.7 million in estimated single damages. Id.; see also Natchitoches Par.

14   Hosp. Serv. Dist. v. Tyco Int’l, Ltd., No. 05-cv-12024, ECF No. 401, at 1, 4, 22 (D. Mass. Feb. 23,

15   2010) (plaintiffs’ final approval brief providing litigation background and damages estimates).

16             In short, the Settlement here compares quite favorably to other antitrust class actions in similar

17   litigation postures, including those with multiple defendants proceeding with less pathbreaking claims.

18             B.     This Settlement Compares Favorably to Dozens of Recent Antitrust Class Action
                      Settlements
19
               As shown by the long list of cases set forth below, the Settlement would far surpass the typical
20
21   antitrust class action settlement—including those with fewer elements and lower burdens of proof, such

22   as per se illegal price-fixing and other cases brought under Section 1 of the Sherman Act. In

23   considering the Settlement, the Court should consider that the Le and Johnson Actions have been
24   brought by workers under Section 2 of the Sherman Act. As Professor Eric Posner of the University of
25
     Chicago Law School has observed, the Le Action “is the first [labor-side claim under Section 2 of the
26
     Sherman Act] ever to survive summary judgment, reach class certification, or even survive a motion to
27
     dismiss.” See Declaration of Prof. Eric A. Posner in Support of Plaintiffs’ Motion for Preliminary
28

                                                                                                                9
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 1   Approval of the Settlement (“Posner Decl.”). 11 Plaintiffs’ case—and the Settlement—are remarkable,

 2   ground-breaking achievements, especially when compared with other antitrust class action results.
 3
              Federal dockets are replete with antitrust class actions in which courts (including many in this
 4
     Circuit) have approved settlements reflecting a much lower percentage of estimated single damages:
 5
              Antitrust Class Action Settlements for 2% or Less of Estimated Single Damages
 6
          •    In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 2019 WL 6875472, at
 7             *28 (E.D.N.Y. Dec. 16, 2019) (after summary judgment briefing and the Second Circuit
               vacating a prior settlement, court approved $6.32 billion antitrust class action settlement
 8             representing less than 1.4% of the low end of estimated damages of $463.8 billion).
 9        •    In re Endosurgical Prod. Direct Purchaser Antitrust Litig., 2008 WL 11504857, at *6 (C.D.
10             Cal. Dec. 31, 2008) (preliminary approval of $13 million cash settlement of antitrust class
               action where court stated that “[a]ssuming the settlement is worth approximately 1.7% of
11             relevant sales, 12 the Court finds this percentage within the range of settlements approved in
               similar cases when alleged monopolists were sued first by competitors, and then by
12             purchasers”); see also In re Endosurgical Prod. Direct Purchaser Antitrust Litig., No. 05-cv-
               8809, ECF No. 193-2, at 2 (C.D. Cal. Apr. 27, 2009) (plaintiffs’ final approval brief noting
13
               that prior to settlement, defendants had prevailed against a different plaintiff, and that another
14             plaintiff in a related action before a different court subsequently settled its claims for $11
               million where it had alleged $1.8 billion in single damages).
15
          •    Meijer, Inc. v. 3M, 2006 WL 2382718, at *2, *16 (E.D. Pa. Aug. 14, 2006) (following class
16             certification briefing, court approved $28.9 million antitrust class action settlement
17             representing approximately 2% of class member sales to defendant).

18        •    In re Auto. Refinishing Paint Antitrust Litig., 2004 WL 1068807, at *2 (E.D. Pa. May 11,
               2004) (after federal government disbanded grand jury investigation of the anticompetitive
19             conduct alleged in plaintiffs’ complaint, court approved antitrust class action settlements with
               two defendants totaling $48 million, which represented approximately 2% of class member
20             sales to defendants); see also In re Auto. Refinishing Paint Antitrust Litig., No. 10-md-1426,
21             ECF No. 124, at 3, 18-19 (E.D. Pa. June 30, 2004) (plaintiffs’ final approval brief providing
               damages estimates).
22
          •    In re Packaged Ice Antitrust Litig., 2011 WL 6209188, at *11 (E.D. Mich. Dec. 13, 2011) (for
23             the direct purchaser plaintiff class in this antitrust class action, after class certification
               briefing, the court granted final approval of settlement with one defendant, finding the “$12.5
24
               million cash settlement … represents approximately 2.2% of Arctic Glacier’s United States
25
     11
       The Posner Decl. is attached as Exhibit 2 (ECF No. 136-5) to the Joint Decl. submitted with the
26
     Preliminary Approval Motion.
27   12
        A settlement measured against a defendant’s sales during the class period compares less favorably to
28   single damages because damages are calculated as a portion of sales, and typically amount to a small
     fraction of the defendant’s total sales.

                                                                                                              10
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 1         sales of Packaged Ice during the proposed Settlement Class Period”).

 2     •   In re Cathode Ray Tube (CRT) Antitrust Litig., 2015 WL 9266493, at *5 (N.D. Cal. Dec. 17,
 3         2015) (following summary judgment briefing, court approved $9.75 million antitrust class
           action settlement where plaintiffs’ maximum recovery “could exceed two billion dollars,” and
 4         where settlement represented 0.49% of maximum possible recovery).

 5     Antitrust Class Action Settlements for 5% or Less of Estimated Damages
 6     •   In re Tableware Antitrust Litig., 2007 WL 4219394, at *2 (N.D. Cal. Nov. 28, 2007) (court
           approved antitrust class action settlement of $500,000, which represented 4% of estimated
 7         damages of $12.5 million with one defendant).
 8
       •   Lazy Oil Co. v. Witco Corp., 95 F. Supp. 2d 290, 308, 319 (W.D. Pa. 1997) (court approved
 9         antitrust class action settlement of $14.5 million with the last two of three defendants, which
           settlement represented 5.35% of the estimated damages of $271 million).
10     Antitrust Class Action Settlements for 15% or Less of Estimated Damages
11     •   In re Titanium Dioxide Antitrust Litig., 2013 WL 5182093, at *2 (D. Md. Sept. 12, 2013)
           (approving antitrust settlement of $163.5 million after class certification was granted,
12         summary judgment and Daubert denied, and on the eve of trial, representing 6-8% of
13         estimated single damages ranging from $2.1-2.7 billion); see also In re Titanium Dioxide
           Antitrust Litig., 959 F. Supp. 2d 799, 818 (D. Md. 2013) (plaintiffs’ expert found
14         “Defendants’ price increases resulted in aggregate [single] overcharges of between $2.1 and
           $2.7 billion”).
15
       •   Tawfilis v. Allergan, Inc., 2018 WL 4849716, at *1, *4 (C.D. Cal. Aug. 27, 2018) (antitrust
16
           class action settlement reached after court granted in part plaintiffs’ Daubert motion, and
17         denied defendant’s Daubert motion, where $13,450,000 settlement represented approximately
           8.36% of single damages); see also Tawfilis v. Allergan, Inc., No. 15-cv-0307, ECF No. 388,
18         at 8-9 (C.D. Cal. Mar. 8, 2018) (preliminary approval order discussing amount of alleged
           overcharges).
19

20     •   In re Checking Acct. Overdraft Litig., 830 F. Supp. 2d 1330, 1346 (S.D. Fla. 2011) ($410
           million settlement against one defendant in an antitrust class action where the settlement
21         represented as little as 9% percent of total potential single damages depending on which
           measure of damages a jury adopted, and where the court emphasized that “standing alone,
22         nine percent or higher constitutes a fair settlement even absent the risks associated with
           prosecuting these claims”).
23

24     •   In re Air Cargo Shipping Servs. Antitrust Litig., 2009 WL 3077396, at *9 (E.D.N.Y. Sept. 25,
           2009) (final approval of antitrust class action settlement of “$85 million equal[ing]
25         approximately 10.5% of Lufthansa’s surcharges during the Settlement Class period”).

26     •   In re Wellbutrin SR Antitrust Litig., 2011 WL 13392296, at *2, *3 (E.D. Pa. Nov. 21, 2011)
27         (final approval of antitrust class action settlement of $49 million, reached after summary
           judgment briefing (including renewed summary judgment motion by defendant) and extensive
28         trial preparation, which represented 5.7% to 10.7% of estimated single damages ranging from
           $457 million to $839 million); see also In re Wellbutrin SR Antitrust Litig., No. 04-cv-5525,
                                                                                                        11
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 1               ECF No. 409, at 18 (Oct. 14, 2011) (plaintiffs’ final approval brief providing damages
                 estimates).
 2

 3           •   In re Prandin Direct Purchaser Antitrust Litig., 2015 WL 1396473, at *1-*3 (E.D. Mich. Jan.
                 20, 2015) (approving $19 million antitrust class action settlement representing approximately
 4               12% of estimated single damages); see also In re Prandin Direct Purchaser Antitrust Litig.,
                 No. 10-cv-12141, ECF No. 67, at 14 (E.D. Mich. Dec. 16, 2014) (plaintiffs’ final approval
 5               brief providing damages estimates).
 6           •   Castro v. Sanofi Pasteur Inc., 2017 WL 4776626, at *1-*2, *6 (D.N.J. Oct. 23, 2017)
 7               (approving antitrust class action settlement of $61.5 million, reached after class certification
                 was granted and Daubert was denied, which represented approximately 14% of the estimated
 8               damages of $439 million).

 9           •   In re High-Tech Emp. Antitrust Litig., 2015 WL 5159441, at *2-*4 (N.D. Cal. Sept. 2, 2015)
                 (approving antitrust class action settlement of $435 million, reached with all seven deep-
10
                 pocketed defendants while the parties were engaged in trial preparation, where the settlement
11               represented 14% of single damages of $3.1 billion).

12           •   In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig., 2024 WL
                 815503, at *2, *9 (E.D. Pa. Feb. 27, 2024) (approving antitrust class action settlement of $385
13               million, which was reached after class certification had been granted, after the court denied
14               various Daubert motions, and where the settlement represented 12% to 14% of estimated
                 damages of $2.6 billion and $3.2 billion).
15
             •   In re Blue Cross Blue Shield Antitrust Litig., 2022 WL 4587618, at *2, *20 (N.D. Ala. Aug. 9,
16               2022) (final approval of $2.67 billion antitrust class action settlement reached after nine years
                 of litigation and following several rounds of summary judgment, as well as class certification
17
                 motions pending at time of settlement, where settlement represented between 7.3% to 14.3%
18               of the estimated damage ranging from $18.6 billion to $36.1 billion, which the court
                 concluded “easily falls within the range of reasonable recoveries”). 13
19
             •   In re Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297, 305, 308-10, 323, 325 (N.D. Ga.
20               1993) (court approved antitrust class action settlement with a $50 million cash amount plus
21               discount travel certificates with a face value of $408 million, which together the court found
                 had an economic value between $254-$356 million, and where the court concluded that “the
22               settlement in this action amounts to approximately 12.7-15.3% of the estimated $2 billion
                 minimum possible untrebled recovery”).
23
             Antitrust Class Action Settlements for 25% or Less of Estimated Damages
24           •   Natchitoches Par. Hosp. Serv. Dist. v. Tyco Int’l, Ltd., 2010 WL 11693979, at *2 (D. Mass.
25               Mar. 12, 2010) (final approval of $32.5 million antitrust class action settlement reached
                 during trial, where the settlement represented 17.6% of best possible recovery of $184.66
26               million in estimated single damages; other damages models estimated $109.25 million and
                 $175.52 million respectively); see also Natchitoches Par. Hosp. Serv. Dist. v. Tyco Int’l, Ltd.,
27               No. 05-cv-12024, ECF No. 401, at 1, 4, 22 (D. Mass. Feb. 23, 2010) (plaintiffs’ final approval
28   13
          Affirmed sub nom. In re Blue Cross Blue Shield Antitrust Litig., 85 F.4th 1070 (11th Cir. 2023).

                                                                                                              12
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 1          brief providing litigation background and damages estimates).

 2     •    In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig., 2020 WL 6193857, at *1
 3          (E.D.N.Y. Oct. 7, 2020) (final approval of $51.25 million antitrust class action settlement,
            reached after class certification briefing, which represented 5-20% of range of estimated
 4          damages ranging from $255 million to $709 million); see also In re Restasis (Cyclosporine
            Ophthalmic Emulsion) Antitrust Litig., No. 18-md-2719, ECF No. 544, at 16, 21 (E.D.N.Y.
 5          Sept. 15, 2020) (plaintiffs’ final approval brief providing litigation background and damages
            estimates).
 6

 7     •    Sullivan v. DB Invs., Inc., 667 F.3d 273, 285, 287-88, 324-25 (3d Cir. 2011) (Third Circuit
            affirmed two settlements: (i) an indirect purchaser plaintiff settlement of $272.5 million,
 8          which represented estimated 10.9% of estimated $2.5 billion single damages; and (ii) a direct
            purchaser plaintiff settlement of $22.5 million, which represented less than 22.5% of the
 9          estimated $100 million single damages; settlements were reached after default judgment
            entered against defendants, who rejected that the court had jurisdiction; Third Circuit held
10
            there was “no abuse in the District Court’s conclusion that the proposed settlement offered a
11          reasonable recovery”).

12     •    In re Dental Supplies Antitrust Litig., No. 16-cv-0696, ECF No. 341 (E.D.N.Y. June 24,
            2019) (final approval order of $80 million antitrust class action settlement, reached after class
13          certification and Daubert motions were briefed, where settlement represented 2.5-21% of
14          estimated single damages); see also In re Dental Supplies Antitrust Litig., No. 16-cv-0696,
            ECF No. 335-1, at 13, 17 (E.D.N.Y. May 24, 2019) (plaintiffs’ final approval brief providing
15          litigation background and damages estimates).

16     •    Meijer, Inc. v. Abbott Labs., 2011 WL 13392313, at *2 (N.D. Cal. Aug. 11, 2011) (final
            approval order for $52 million antitrust class action settlement reached during trial, where
17          plaintiffs’ estimated damages ranged from $210 million to $423 million, and up to $1.2
18          billion in most optimistic scenario; settlement represented 25%, 12%, and 4% respectively of
            potential recovery scenarios; trial continued with an individual plaintiff where the jury
19          returned a verdict for defendant); see also Meijer, Inc. v. Abbott Labs., No. 07-cv-5985, ECF
            No. 512, at 8 (N.D. Cal. July 13, 2011) (plaintiffs’ final approval brief providing damages
20          estimates), ECF No. 501, at 6-7 (N.D. Cal. Apr. 8, 2011) (plaintiffs’ preliminary approval
            brief providing litigation background).
21

22     •    In re Opana ER Antitrust Litig., No. 14-cv-10150, ECF No. 1085 (N.D. Ill. Nov. 3, 2022)
            (final approval of antitrust class action settlement of $145 million on behalf of direct
23          purchasers, reached just prior to trial, who sought damage ranging between $514 million to
            $590 million, which represented 25% to 28% of estimated damages; jury subsequently
24          returned verdict in favor of non-settling defendant); see also ECF No. 1081, at 1 (plaintiffs’
25          final approval brief); ECF No. 895, at 18 (N.D. Ill. May 24, 2022) (joint pretrial order
            discussing damages); ECF No. 1002 (N.D. Ill. July 1, 2022) (jury verdict for non-settling
26          defendant).

27         C.     Antitrust Class Actions Pose Significant Trial and Appellate Risk
28         The law recognizes that even where an expert’s testimony about damages is deemed admissible

                                                                                                          13
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 1   and reliable, Plaintiffs still face the risk of being unable to prove at trial the existence, and extent, of

 2   damages or the other elements of their claims. “Antitrust cases are particularly risky, challenging, and
 3
     widely acknowledge[d] to be among the most complex actions to prosecute.” In re Lithium Ion
 4
     Batteries Antitrust Litig., 2020 WL 7264559, at *15 (N.D. Cal. Dec. 10, 2020); 14 see also Wal-Mart
 5
     Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 118 (2d Cir. 2005) (“Federal antitrust cases are
 6
     complicated, lengthy, and bitterly fought.”); In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631, 639
 7

 8   (E.D. Pa. 2003) (“An antitrust class action is arguably the most complex action to prosecute. The legal

 9   and factual issues involved are always numerous and uncertain in outcome.”).
10            It is unsurprising, if unfortunate, that the annals of antitrust litigation history are littered with
11
     examples of plaintiffs receiving little or no damages despite having engaged in extensive litigation—
12
     even when such plaintiffs succeeded in establishing the defendants’ liability. 15
13
              One such well-known example is the monopolization case brought by the United States Football
14

15   League against the National Football League where the jury, after a ten-week trial, returned unanimous

16   verdicts against the defendant but concluded the plaintiff had suffered only $1.00 in damages. United

17   States Football League v. National Football League, 644 F. Supp. 1040, 1041-42 (S.D.N.Y. 1986). 16
18
              There are numerous other instances reflecting the uncertainty of prevailing in an antitrust trial.
19

20
     14
21        Affirmed, No. 21-15120, 2022 WL 16959377 (9th Cir. Nov. 16, 2022).
     15
22      See Wal-Mart Stores, 396 F.3d at 118 (“Indeed, the history of antitrust litigation is replete with cases
     in which antitrust plaintiffs succeeded at trial on liability, but recovered no damages, or only negligible
23   damages, at trial, or on appeal.”); MCI Communications Corp. v. American Tel. & Tel. Co., 708 F.2d
     1081, 1166-67 (7th Cir. 1983) (antitrust judgment was remanded for new trial and damages); Eisen v.
24   Carlisle & Jacquelin, 479 F.2d 1005 (2d Cir. 1973), vac’d, 417 U.S. 156 (1974) (after two trips to the
     Second Circuit and one to the Supreme Court, plaintiff and the putative class recovered nothing in this
25
     antitrust class case); Cardiology Assocs., P.C. v. Nat’l Intergroup, Inc., 1987 WL 7030, at *3 (S.D.N.Y.
26   Feb. 13, 1987) (“There is a substantial risk that the plaintiff might not be able to establish liability at all
     and, even assuming a favorable jury verdict, if the matter is fully litigated and appealed, any recovery
27   would be years away.”).
     16
28      This case is so well known that a plaque commemorating it is emblazoned on the wall of the
     attorneys’ lounge on 3rd floor of Lloyd D. George Federal District Courthouse in Las Vegas.

                                                                                                                      14
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 1   In nearly all of these cases, the plaintiffs had rejected significant settlement offers, opting for a jury trial

 2   instead. In the following recent cases, that choice proved disastrous for the plaintiffs:
 3
           •   In re HIV Antirust Litig., No. 19-cv-02573 (N.D. Cal.): Antitrust class action alleging that
 4             defendants violated the antitrust laws by agreeing to delay the entry of generic versions of
               certain brand drugs used to treat the Human Immunodeficiency Virus (“HIV”). The end
 5             purchaser plaintiffs in this antitrust class action litigation went to trial and the jury returned a
               verdict in favor of the defendants. A different group of plaintiffs chose instead to settle their
 6             case before trial for $246.75 million, which represented approximately 11.9% of the expert’s
 7             estimated single damages. See ECF No. 2141, at 12-13 (final approval brief).

 8         •   In re Korean Ramen Antitrust Litig., No. 13-cv-04115 (N.D. Cal.): Antitrust class action
               plaintiffs sought approximately $246 million in single damages for antitrust claims alleging
 9             defendants engaged in a conspiracy to fix the price of ramen noodle products (In re Korean
               Ramen Antitrust Litig., 2017 WL 235052, at *6 (N.D. Cal. Jan. 19, 2017)), where jury
10
               returned a verdict in favor of two defendants when it found that plaintiffs had not proven there
11             was a conspiracy (ECF No. 920).

12         •   In re Broiler Chicken Antitrust Litig., No. 16-cv-08637 (N.D. Ill.): Plaintiffs in this class
               action alleging overcharges on approximately $37 billion in broiler chicken sales for antitrust
13             claims alleging defendants conspired to fix the price of broiler chickens. In re Broiler Chicken
14             Antitrust Litig., 2022 WL 1720468, at *15 (N.D. Ill. May 27, 2022). After obtaining
               settlements totaling $284 million—a tiny fraction of single damages—with thirteen
15             defendants (see, e.g., ECF Nos. 6926-28; 7172, at 3), plaintiffs went to trial against one
               defendant and the jury rendered a verdict in favor of the defendant (ECF No. 7014).
16
           •   In re Nexium (Esomeprazole) Antitrust Litig., No. 12-md-02409 (D. Mass): Litigation
17             involving consolidated antitrust class actions brought on behalf of direct purchasers, end-
18             payer purchasers, and individual retailer plaintiffs alleging defendants violated the antitrust
               laws by agreeing to delay the entry of generic versions of the prescription drug Nexium,
19             where direct purchasers claimed damages in the billions of dollars. See ECF No. 1559, at 17
               (plaintiffs’ final approval brief). Approximately one month into trial, all plaintiffs settled with
20             one defendant for $24 million and the jury subsequently returned a verdict in favor of the
               remaining defendants. See id. at 2, 15-16.
21

22         •   In re Wholesale Grocery Prods. Antitrust Litig., No. 09-md-02090 (D. Minn.): Antitrust class
               action where direct purchaser plaintiffs brought claims alleging $226 million in damages
23             asserting defendants engaged in a conspiracy to restrict competition by dividing territories and
               customers along geographic lines (In re Wholesale Grocery Prod. Antitrust Litig., 2017 WL
24             4876277, at *6 (D. Minn. Oct. 24, 2017)), where the jury returned a verdict in favor of two
               defendants (ECF No. 1233).
25

26         •   In re Processed Egg Products Antitrust Litig., No. 08-md-02002 (E.D. Pa.): Antitrust class
               action plaintiffs went to trial asserting damages in excess of $111 million (In re Processed
27             Egg Prod. Antitrust Litig., 881 F.3d 262, 266 (3d Cir. 2018)) for a conspiracy to fix the prices
               of eggs by agreeing to reduce egg supply where the jury found the defendants had not
28             participated in the alleged conspiracy (ECF No. 2090).

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 1         In many, if not all, of these cases, the class counsel rejected settlement offers, opting for the

 2   undoubtedly important right to take the case before a jury. Those decisions may well have been correct
 3
     at the time they were made. No one can see the future. But there is little doubt that rejecting significant
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     settlements involves taking on real risks for counsel’s clients and the class for whom they are
 5
     fiduciaries.
 6
             D.       The Law of Class Action Settlements Advises Deference to Class Action Counsel,
 7
                      Reflecting a Recognition of the Risks of Antitrust Class Actions
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             The Ninth Circuit has held that because “it is the very uncertainty of outcome in litigation and
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     avoidance of wasteful and expensive litigation that induce consensual settlements[, a] proposed
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     settlement is not to be judged against a hypothetical or speculative measure of what might have been
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     achieved by the negotiators.” Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir. 1998)
12
     (quoting Officers for Just. v. Civ. Serv. Comm’n of City & Cnty. of San Francisco, 688 F.2d 615, 625
13
     (9th Cir. 1982)) (emphasis in original). It is for these reasons that “voluntary conciliation and
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     settlement are the preferred means of dispute resolution. This is especially true in complex class action
15
     litigation ….” Officers for Justice, 688 F.2d at 625.
16
             In Rodriguez v. W. Publg. Corp., 563 F.3d 948 (9th Cir. 2009), a case involving an antitrust
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     claim brought on behalf of a class that purchased bar review courses, the Ninth Circuit rejected an
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     argument brought by objectors to a proposed settlement that “the court should have specifically
19
     weighed the merits of the class’s case against the settlement amount and quantified the expected value
20
     of fully litigating the matter.” Rodriguez, 563 F.3d at 965. Instead, the Ninth Circuit explained that
21
     “[w]e put a good deal of stock in the product of an arms-length, non-collusive, negotiated resolution.”
22
     Id.
23
             The Ninth Circuit also rejected the Rodriguez objectors’ argument that the district court should
24
     have measured the settlement against the value of potential treble damages. Id. at 964-65. While the
25
     court observed it has never precluded considering treble damages figures, it stated that “[i]t is our
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     impression that courts generally determine fairness of an antitrust class action settlement based on how
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     it compensates the class for past injuries, without giving much, if any, consideration to treble
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 1   damages.” Id. at 964 (emphasis added). The court again highlighted that “[e]xperienced counsel such as

 2   those representing all the parties in this case will certainly be aware of exposure to treble damages in an

 3   antitrust action. Likewise, the mediator in this case.” Id. at 965. The Ninth Circuit emphasized that:

 4            the court’s intrusion upon what is otherwise a private consensual agreement negotiated
              between the parties to a lawsuit must be limited to the extent necessary to reach a
 5            reasoned judgment that the agreement is not the product of fraud or overreaching by, or
              collusion between, the negotiating parties, and that the settlement, taken as a whole, is
 6
              fair, reasonable and adequate to all concerned.
 7
     Id. (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998)). The court concluded that
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     “[i]n this case, the negotiated amount is fair and reasonable no matter how you slice it. There is no
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     evidence of fraud, overreaching, or collusion. Even considering the trebling effect, the settlement
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     amount represents approximately ten percent of the class’s estimate of its own trebled damages and
11
     more than twice that estimated by” defendants. Id.
12
              The above analysis illustrates why “it is well-settled law that a proposed settlement may be
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     acceptable even though it amounts to only a fraction of the potential recovery that might be available to
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     the class members at trial.” Nat’l Rural Telecomm. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D.
15
     Cal. 2004) (citing Linney, 151 F.3d at 1242); see also CRT, 2015 WL 9266493, at *5 (same); Officers
16
     for Just., 688 F.2d at 628 (“It is well-settled law that a cash settlement amounting to only a fraction of
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     the potential recovery will not per se render the settlement inadequate or unfair.”). 17
18
     V.       CONCLUSION
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              In sum, the Settlement is an excellent result for the Settlement Classes by all traditional
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     measures. The case is nearly 10 years old. The struggle for MMA Fighter justice long preceded this
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     case and will continue after this case. All of the previous battles for fairness by professional athletes
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     17
24      In re High-Tech Emp. Antitrust Litig., 2015 WL 5159441, at *4 (N.D. Cal. Sept. 2, 2015) (“[t]he fact
     that a proposed settlement may only amount to a fraction of the potential recovery does not, in and of
25   itself, mean that the proposed settlement is grossly inadequate and should be disapproved.”); In re
     Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 2019 WL 6875472, at *29 (E.D.N.Y.
26   Dec. 16, 2019) (quoting City of Detroit v. Grinnell Corp., 495 F.2d 448, 455 (2d Cir. 1974)), abrogated
     on other grounds by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000) (same); In re
27
     Remeron End-Payor Antitrust Litig., 2005 WL 2230314, at *24 (D.N.J. Sept. 13, 2005) (“an antitrust
28   class action settlement may be approved even if the settlement amounts to a small percentage of the
     single damages sought, if the settlement is reasonable relative to other factors”).

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 1   were hard-won, over many years, multiple litigations, and through many different modes of protest and

 2   activism: litigation, governmental intervention, political organizing, unionization, etc. This Settlement,

 3   if approved, would be a significant step towards ameliorating past wrongs, and forcing more

 4   competitive conduct by the UFC and other powerful entities. As Professor Posner wrote, “the plaintiffs

 5   secured important judicial opinions that will help litigants and future courts adjudicate Section 2

 6   [Sherman Act] labor antitrust cases.” Posner Decl. ¶22. The relief here would be immediate,

 7   significant, and real for many hundreds of Fighters and their families. And, as shown above, this result

 8   is extraordinary when compared to other antitrust class actions—many with more leverage than

 9   Plaintiffs here (including cases that settled after trial victories or defendant defaults), but which settled

10   for a far lower share of estimated single damages.

11          The law recognizes that antitrust class actions are complex and involve significant trial and

12   appellate risks that class counsel must consider in deciding whether to accept a settlement. Plaintiffs’

13   counsel and the class representatives fought this battle for over ten years. After exhaustively weighing

14   all the costs and benefits—and having been assisted in this process by an experienced and well-

15   respected mediator who was a U.S. District Court Judge—class counsel and class representatives

16   concluded that it was in the best interests of the Settlement Classes to accept the hard-won terms of this

17   Settlement. We ask this Court, respectfully, to accept that carefully considered decision and

18   preliminarily approve the Settlement so that the Settlement Class members themselves can review its

19   terms and assess the results for themselves. 18
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       At this juncture, Plaintiffs seek only preliminary approval, permitting notice to the Settlement
28   Classes of the proposed settlement and affording members of the Settlement Classes the opportunity to
     object to its terms should they so choose.

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 1   Dated: June 24, 2024                             Respectfully submitted,

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 1                                       CERTIFICATE OF SERVICE

 2          I hereby certify that on this 24th day of June, 2024, a true and correct copy of Plaintiffs’

 3   Supplemental Brief In Support of Motion for Preliminary Approval of the Settlement and supporting

 4   papers and exhibits were served via the U.S. District Court of Nevada’s ECF System to all counsel of

 5   record who have enrolled in the ECF System.

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 7                                                                /s/ Eric L. Cramer
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